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                                   UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF PENNSYLVANIA


DOLLY E. FEREBEE,                                           Civil Action No. 22-1155

               Plaintiff,

       v.,

NYCOLE MACKLIN, et al.,

               Defendants.


                                                 Order

               Upon consideration of the plaintiff’s motion to reconsider the dismissal of count II of the

plaintiff’s second amended complaint, it is ordered that the motion is granted, and count II of the

compliant is reinstated.




                              BY THE COURT:

                              ______________________
                              HODGE, KELLEY B., J.
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                                  UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF PENNSYLVANIA


DOLLY E. FEREBEE,                                           Civil Action No. 22-1155

              Plaintiff,

       v.,

NYCOLE MACKLIN, et al.,

              Defendants.


           Plaintiff’s Motion and Memorandum of Law to Reconsider Order
     Dismissing Count II of the Second Amended Complaint for Declaratory Relief.

                                             Introduction

              The Philadelphia Parking Authority (“PPA”) conditioned the release of Ms. Ferebee’s

vehicle on the payment of tickets issued to vehicles that were not impounded but which the PPA

attributed to Ms. Ferebee’s ownership. The Bureau of Administrative Adjudication (“BAA”) conducted

an administrative hearing that by all appearances found Ms. Ferebee owned all of the vehicles for

which the PPA sought payment. Nevertheless, this court concludes that Ms. Ferebee lacks standing to

challenge Philadelphia Code § 12-2406(2) based on the view that Ms. Ferebee was not the owner of the

vehicles for which the PPA sought payment. Ms. Ferebee suggests that the court’s determination is

mistaken because the court did not analyze whether it is bound to the hearing officer’s apparent factual

determination of ownership based on principles of res judicata.

                                             Background

              On February 12, 2020, the PPA impounded Ms. Ferebee’s 2010 Dodge Grand Caravan

(the “Vehicle”) for nonpayment of parking tickets. When Ms. Ferebee went to retrieve the Vehicle, the

PPA asked her to pay $3,705 on account of five tickets issued against the impounded Vehicle along

with a series of other tickets issued against other vehicles. Ms. Ferebee denied owning the other

vehicles and objected to paying for the tickets issued to them. On February 13, 2020, Ms. Ferebee
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attended a hearing at the BAA in which she expressed her objection to paying tickets for vehicles she

did not own. At the hearing, Ms. Ferebee argued that the PPA had mistaken her identity for that of her

mother with whom she shared the same name and that the tickets issued to other vehicles were all

owned by her mother.

               The hearing officer heard Ms. Ferebee’s testimony and saw the documentation she

presented. As far as Mr. Ferebee can discern from the recording of the hearing, the hearing officer

rejected Ms. Ferebee’s position that she did not own the other vehicles. Before the hearing officer

would believe that the non-impounded vehicles belonged to someone else, the hearing officer wanted

Ms. Ferebee to obtain some sort of corroborating evidence from the Pennsylvania Department of

Transportation.

               Ms. Ferebee does not have the hearing officer’s actual decision to know for certain what

the hearing officer ruled, but it is a fair interpretation of the recording of the hearing, viewed in favor of

Mr. Ferebee, that the hearing officer decided that all of the ticketed vehicles belonged to the plaintiff.

               Ms. Ferebee has proceeded in this case as though she was bound by the hearing officer’s

factual determination of ownership. Ms. Ferebee has never challenged the implicit factual

determination of the hearing officer that she owned all of the ticketed cars. Ms. Ferebee has instead

proceeded on other grounds that do not contradict the hearing officer’s implicit ruling. Ms. Ferebee

attacks the BAA for not knowing that the PPA files petitions to sell vehicles under General Court

Regulation 96-1, 26 Pa. B. 2489 (“GCR 96-1). Under GCR 96-1, Ms. Ferebee was entitled to the

release of her Vehicle only for payment of the tickets issued on the Vehicle, without regard to whether

she owed tickets on other vehicles. Along the same lines, Ms. Ferebee’s challenge to Philadelphia Code

§ 12-2406(2) is premised on the binding effect of the hearing officer’s apparent factual determination

that Ms. Ferebee owned all of the ticketed vehicles. Ms. Ferebee calls it the “apparent” factual

determination because the PPA has refused to release the hearing officer’s actual decision. In the
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absence of its release, the inference should be that the hearing officer ruled that Ms. Ferebee was the

owner of all of the ticketed vehicles.

                                               Argument

I. STANDARD OF REVIEW.

               Motions for reconsideration are granted sparingly to correct clear errors of law or fact or

prevent manifest injustice. Max's Seafood Cafe ex rel. Lou-Ann, Inc. v. Quinteros, 176 F.3d 669, 677

(3d Cir. 1999); PBI Performance Prods., Inc. v. NorFab Corp., 514 F. Supp. 2d 732, 744 (E.D. Pa.

2007). The motion may address factual and legal matters the court has overlooked but not ask a court to

rethink an issue that was decided, rightly or wrongly. Glendon Energy Co. v. Borough of Glendon, 836

F. Supp. 1109, 1122 (E.D. Pa. 1993).

               In this instance, Ms. Ferebee is asking the court to reconsider its decision on standing

because the court did not address whether it is bound by the hearing officer’s implicit factual finding

that Ms. Ferebee was the owner of all of the ticketed cars.

II.    THE COURT IS BOUND BY THE BAA’S RULING THAT MS.
       FEREFEE OWNED ALL OF THE TICKETED CARS.

               Issue preclusion applies to determinations made by administrative tribunals. Jones v.

UPS, 214 F.3d 402, 405-06 (3rd Cir. 2000). Issue preclusion applies where (1) an identical issue was

previously decided; (2) in a prior action that resulted in a final judgment; (3) asserted against a person

who was a party to the proceeding; who (4) had a full and fair opportunity to litigate the matter. Id.

These elements are satisfied in the present case.

               The BAA hearing officer appears to have ruled that Ms. Ferebee was the owner of all of

the ticketed cars. Maybe new information will be uncovered in discovery that says otherwise, but for

now the correct inference is that the hearing officer ruled that Ms. Ferebee owned all of the ticketed

vehicles. The issue of ownership of the ticketed vehicles is identical to the issue this court relied on to

determine a lack of standing, except that this court reached the opposite conclusion. The prior action
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resulted in a final judgment. The hearing officer’s ruling on ownership was not appealed and became

final. Although the PPA declined to appear at the hearing, the PPA was a participant in the hearing in as

much as it was Ms. Ferebee’s liability to the PPA that was at issue. The PPA could have appeared if it

wished or the hearing officer could have ordered the PPA to appear. See Phila. Code § 12-2807. Within

the context of the administrative hearing procedure, the PPA had a full and fair opportunity to litigate

the issue, but the PPA voluntarily chose not to appear. See also Parsons v. Phila. Parking Auth., No.

1899 C.D. 2010, slip op. at 5-7 (Pa. Commw. Ct. 2011) (car owner could not dispute BAA ruling that

was not appealed).

                The PPA demanded $3,705 from Ms. Ferebee on account of all of the vehicles in its

records owned by Dolly Ferebee. The PPA made this demand pursuant to Philadelphia Code § 12-

2406(2). If Ms. Ferebee had paid the money, the PPA would have returned the Vehicle. The hearing

officer rejected Ms. Ferebee’s testimony that she did not own the other vehicles. Ms. Ferebee was

directly affected by the application of § 12-2406(2) to her case within the meaning of the Declaratory

Judgment Act. Ms. Ferebee was affected by the application of § 12-2406(2) to her case even if the

ordinance was applied erroneously.

                                              Conclusion

                For these reasons, Ms. Ferebee requests for the court to reconsider its order dismissing

count II from the plaintiff’s second amended complaint together with any other relief that is just and

appropriate.

                                             Respectfully submitted,


                                             Robert F. Salvin (RFS2522)
                                             Two Bala Plaza, Suite 300
                                             Bala Cynwyd, PA 19004
                                             215-300-2388
                                             215-271-2820 (fax)
                                             robert.salvin@outlook.com
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                                        Certificate of Services

               I, Robert F. Salvin, certify that the foregoing document will be served on opposing
parties through the court's ECF system, or I will serve it by regular mail, postage prepaid at the listed
address of defendants' counsel.




                                            Robert F. Salvin (RFS2522)
                                            Two Bala Plaza, Suite 300
                                            Bala Cynwyd, PA 19004
                                            215-300-2388
                                            215-271-2820 (fax)
                                            robert.salvin@outlook.com
